           Case
            Case2:11-cr-00434-RFB-PAL
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 7 Attorneys for the United States of America

 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF NEVADA
11

12 UNITED STATES OF AMERICA,                            )   2:11-CR-434-LDG-(PAL)
                                                        )
13                         Plaintiff,                   )
                                                        )
14           v.                                         )   STIPULATED MOTION TO CONTINUE
                                                        )   DISCOVERY
15 EDUARD PETROIU, et. al.,                             )   (Second Request)
                                                        )
16                         Defendant.                   )

17           COME NOW the parties and stipulate and jointly move this Court to continue the discovery

18 cut-off in the above-captioned case until September 30, 2016. The parties have already engaged in

19 extensive ‘paper’ discovery including propounding interrogatories and requests for production of

20 documents on the Claimants, which have been, more or less answered by the Claimants. The United

21 States has received and analyzed this paper discovery and was prepared to depose both claimants,

22 Atanas and Mariya Nedyalkova. However, Claimants’ counsel recently informed counsel for the

23 Government that both Atanas and Mariya Nedyalkova are out of the country and will not return until

24 early August 2016. Thus, the parties will not be able to conclude the discovery phase of this case

25 until the Nedyalkovas return to the United States.

26 / / /
        Case
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 1         Given the foregoing, the parties have agreed to request that this Court extend the discovery

 2 cut-off deadline in this matter until September 30, 2016.

 3         This motion is not submitted solely for the purpose to delay or for any other improper

 4 purpose.

 5         WHEREFORE, the parties move this Court to grant a continuance of the discovery cut-off

 6 date until September 30, 2016, for the parties to complete discovery.

 7         Dated this 9th day of May 2016.

 8
                                                         Respectfully submitted,
 9
                                                         DANIEL G. BOGDEN
10                                                       United States Attorney
11                                                       /s/Michael A. Humphreys
                                                         MICHAEL A. HUMPHREYS
12

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                                                         IT IS SO ORDERED:
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18
                                                                       DISTRICT
                                                         UNITED STATES MAGISTRATE   JUDGE
19                                                       LLOYD D. GEORGE
                                                         DATED:            May 2016
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23

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